
ON MOTION FOR ORDER DIRECTING PUBLIC EMPLOYEES RELATIONS COMMISSION TO PREPARE RECORD ON REVIEW
MILLS, Judge.
Petitioner filed its directions to Public Employees Relations Commission to prepare, certify and transmit the record on review to this Court. Public Employees Relations Commission refused to comply. Public Employees Relations Commission contends that it is petitioner’s responsibility to prepare the record. Petitioner now moves for an order directing Public Employees Relations Commission to prepare the record. We grant petitioner’s motion on authority of our decision in Pasco County School Board v. Public Employees Relations Commission, 336 So.2d 483, opinion filed August 23, 1976.
It is the Public Employees Relations Commission’s responsibility to prepare the record for review. Pasco County School Board v. Public Employees Relations Commission, supra. In the absence of a rule prescribing the method of preparation, and until the Supreme Court of Florida has adopted a rule, we suggest that the record be prepared in one of the following manners:
1. Original Record. Public Employees Relations Commission shall transmit all of the designated portions of the original papers and exhibits in the proceeding in which the review is taken, together with a copy of any such parts of the proceedings as were stenographically reported and have been designated by the parties and certified by the reporter for inclusion in the record on review, and certified copies of the order, of which review is sought.
2. Transcript of Record. If the parties shall so stipulate or if the Commission is of the opinion, that the original papers in the case should be kept in the Commission pending the review for use in other proceedings or for other valid reason, the Commission may make an order to that effect, and thereupon it shall be the duty of the Commission to transmit to this Court a certified copy of the record.
The cost of preparing the record shall be borne by the party requesting the record and shall not exceed the cost which a clerk of a circuit court may charge for preparation of a record on appeal in accordance with the Florida Appellate Rules.
Public Employees Relations Commission shall have thirty days from the date of this order within which to prepare and transmit the record on review to this Court. Petitioner shall have thirty days after the date the record on review is filed with this Court to file and serve its brief in support of its petition on review.
McCORD, Acting C. J., and SMITH, J., concur.
